Case 2:14-cv-11691-LJM-MKM ECF No. 283 filed 12/11/19 PagelD.7442 Page1of4

Mr. Adam Fergerson #220035 U
Chippewa Correctional Facility
4269 West M-80

Kincheloe, MI. 49784

United States District Court Date: 12/06/19
Eastern District of Michigan
Southern Division

Case No: 14-11691 -LIM-MKM
Honorable Laurie J. Michelson

Clerk's Office,

I humbly ask for your assistance in ensuring that this correspondence gets
to the proper official(s). I respectfully submit the following for a possible
criminal review: A Grievance Rejection for a grievance submitted on 11/25/19
(See attached) to MDOC Chippewa Correctional Facility's grievance coordinator.
Due in part to an E-Mail that I attempted to send to Attorney Daniel E. Manville
(attorney/client privilege), in reference to his E-Mail of 11/15/19 concerning
litigation in this Court.

I was concerned that the MDOC, Chippewa Correctional Facility, was party to
a violation of due process by violating attorney/client privilege, further
halting my correspondence with attorney Manville; Federal mail tampering;
Obstruction of justice; Denying me access to the courts by circumventing the
attorney's ability to substantiate litigation and also interfering with other
potential litigation on this plaintiff's behalf.

I respectfully thank you in advance for your time in this matter. Please
don't hesitate to contact me if you have any further questions in reference to

what I have outlined herein. Thank you again.

1 LE

DEC 11 2019 (
CLERK'S OFFICE ity Kaeo

DETROIT

Sincerely,
 

 
 
 

Ns SRE Saar aie eR go en one eoennmceee ee GOCE IEE BS tae ype. ost
T V pee

Case 2:14-cv-11691-LJM-MKM ECF No. 283 filed'12/11/19 PagelD.7443 Page 2 of 4 4

At

MICHIGAN DEPARTMENT OF CORRECTIONS 4835-4247 10/94
PRISONER/PAROLEE GRIEVANCE FORM CSJ-247A

Date Received at Step I / [- 2 6 ° ] | Grievance Identifier: len f [} LI [1 1 [| 410 7 b Ly 5 hI

  

Name (print first, last) Number Institution | Lock Number Date of Incident Today’s |

   

 

What attempt did you make to resolve this issue prior to writing this grievance? On what date? 11/19/19
If none, explain why.

There is no resolution for this criminal act{ion] in progress by the defendants (M.0.0.0.:
Shippewe Correctional Facility) within the time constraints.

 

~ State ‘problem Beaty. Use’ sciiaitte grievahce form for’ Each isle “additional p pa es ‘using plain pe
Four copies of,each page and supporting documents must be submitted with this form. The grievance must be submitted
to the Grievanee Coordinator in accordance with the time limits of OP 03.02.130.

On 11/18/19, somatine after 6:20 AM, I (Plaintiff) Mr. Adam 0. Fergerson, etterntent te
communicate with attorney Daniel £. Manville via the Jnay kiosk ©-Maill system. Gnly to
find out that my €-Mail wes held unm (meaning that it never reached attorney Manville).

my knowlerige, it's bean sent to tha institu@ton's (URF) PREA Inspector for an unknown
‘Anveatioetion. (Chippewa $™.0.0.0.) are circumventing my “right ta due process, impeding
"ay aceasn to an attorney, and violating attorney/elient privilege by reading outgoing mail
(tempeving) that te FLEARLY labeled as to [ATTORNEY MANVILLE]. Thie information was being
sent due in pert te a 60 day Court ORDER (U.S. Dieteict Court, Southeast Division) end of
personel nature. These are court ordered legal documents and highly parsonal cammuniention
covere? hy attorney/client privilege. I raspectfully request thet this £-Mail be sent
immediately to attorney Menville before/within the time peremeters of attorney Manville's
60 day request. I eleo respectfully request damages (punitive, nominal and connensetary)
for the anxiety/emotional stress thet this illegal act{[ion] has caused. Plaintiff hes
already informed attorney Manville end intends to inform the U.5. Oletrict Court Southeast
_ Aivision (or court residing over this matter).

Fe Pie ee 2

eat Grievant’s Signature

2 a i

 

— z
er etenneEE —eeeners

CORRE M gg 2 epee A eg a om RT ree pagar FS 7 SRS
” RESPONSE (Grievant Interviewed? I Yes “PA No If No, give explanation. If resolved, explain resolution )

OO) jp) oe

ee,

 

 

Date

 

 

 

Respondent's Signature . Date Reviewer’ /
“po fhen a4 i [plo ~ar L Tuy
Respondent's swine Print Working Title Reviewer" s Name (Print) Working Title

 

 

 

Date Returned to If resolved at Step I, Grievant sign here.

 

 

 

Grievant:/ 2 - ey Resolution must be described above. Grievant’s Signature Date

 

DISTRIBUTION: White, Green, Canary, Pink — Process to Step One; Goldenrod — Grievant

 
 

 

 
 

Case 2:14-cv-11691-LJM-MKM ECF No. 283 filed 12/11/19 PagelD.7444 Page 3of4

Michigan Department of Corrections
GRIEVANCE REJECTION LETTER

DATE: Tuesday, November 26, 2019
TO: FERGERSON 220035 LOCATION: URF G 255

FROM: M. McLean, Grievance Coordinator
SUBJECT: Rejection

Your Step I grievance regarding Grievance Rejections
was received in this office on 11/26/19 and was rejected due to the following reason:
Your grievance is being rejected for the reason that you are in violation of PD 03.02.130.
This procedure states that you must attempt to resolve the issue with the staff member
involved prior to filing a grievance . If, after you attempt to resolve this issue with the staff
member involved, and the issue is not resolved you may resubmit this issue on a new step |
form. If you do wish to resubmit this issue it must still be within the time limits prescribed in
OP 03.02.130.
Any future references to this grievance should utilize this identifier:

URF — 19— 11 — 3075 — 28 I

WHO ONOCEZED EMAIL FicQzE; AND PeeA ThUesnGanion ?
SGT- DURICARI MARTINS
Mic. Adam DP. FeRGEKBONW | no Ciskrerk —

NO. ZJ6035° | /
CHIPPEWA Coy)senemAL FAG TY \t (j 4 @
t+ 4269 W-M-ED roneven
5S kynereior_,M™. 49’ 7B a

R ECElye Fone

Cc
va U.S, Dek SOFFiCe
. on Tit .
» WnuiveD suis SRRA Cr Coucr
© Fe EASTERN HrsTcicT Of MICHIGAN
IEICE, OF THE Clerck
THES PORE LEVIN Un yTED SWIES CoueTHouse
Z3l WEST LAFAYETTE, BvD. oom 3eY
PENMCONT, MICFHAAKI 4A270

   

 

HERES

}

Sie SCS sped] ppieggha lbs gggpedanfegdgpfpadjipedajadpefipefissagffiapl

i

4

i

910¢ SdSN © YP ANILNOD YIWNSNOD 160d %0E HLM FOV ONY FIEVTIAIFY Si 3d0 TANI SIHL

 

Case 2:14-cv-11691-LJM-MKM ECF No. 283 filed 12/11/19 PagelD.7445 Page 4

 

 
